                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO. 3:09-CR-189-RJC-DCK

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
      vs.                           )                         ORDER
                                    )
SILAS JUNIOR MOBLEY,                )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER IS BEFORE THE COURT on the pro se “Motion Pursuant To Rule

41¶(g) For Return Of Property” (Document No. 163) filed in this Court on March 22, 2012, by

Defendant.

       The record reflects that the Defendant was convicted at trial, has been sentenced, and his

case is now on appeal to the Fourth Circuit. The docket further shows that Mr. Mobley is

represented by appointed counsel, Randolph Marshall Lee, in his appeal to the Fourth Circuit. It is

the practice of this Court, when a defendant is represented by counsel, to rule on motions filed only

by counsel of record. Therefore, if Mr. Mobley has any matters he wishes this Court to consider,

they must be submitted through his attorney.

       The Court also notes that the United States currency the Defendant seeks the return of is the

object of a “Final Order And Judgment Confirming Forfeiture” (Document No. 148) entered by this

Court. Chief Judge Conrad entered this order following the Defendant’s conviction by a jury in this

case. Respectfully, Mr. Mobley’s motion does not appear to set forth any factual or legal basis for

relief under Rule 41.




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       IT IS, THEREFORE, ORDERED that Mr. Mobley’s “Motion Pursuant To Rule 41¶(g)

For Return Of Property” (Document No. 163) is DENIED without prejudice to his right to re-file

the motion, if appropriate, through his attorney, Mr. Lee.

       The Clerk is directed to ensure that a copy of this Order is delivered to the Defendant’s

appointed counsel, Mr. Lee.



                                                 Signed: April 10, 2012




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